                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW MEXICO

In re: KATHRYN ESQUIBEL,                                           Case No. 17-10498-j7
                                                                         Chapter 7
       Debtor.




  PLAINTIFF MARTIN LOPEZ III, P. C.’S OBJECTION HEARING WITNESS LIST

              COMES NOW Martin Lopez III, P. C. (hereinafter “Claimant”) by and through

his attorney , Michael K. Daniels, hereby submits the following list of witnesses who may

be called at the hearing on Defendant John Sexton’s and Party in Interest and Intervenor David

Alton Kelly’s Objections to claim of Martin Lopez III, P.C. (Docket Nos. 30 and 33) scheduled

for Wednesday, March 27, 2019 through March 28, 2019 beginning at 9:00 each day.

       1.     Jane Bloom Yohalem;

       2.     Martin Lopez III;

       3.     Debtor Kathryn Esquibel;

       4.     Objector John Sexton;

       5.     Objector David Kelly

       6.     Any witness called by objector or debtor;

       7.     Any witness necessary for rebuttal purposes which cannot be anticipated at this
              time.
                                                          Respectfully submitted,

                                                            Filed electronically 3/14/2019
                                                           Michael K. Daniels
                                                           Attorney for Claimant
                                                           P. O. Box 1640
                                                           Albuquerque, NM 87103
                                                           Tele: (505) 246-9385
                                                           mike@mdanielslaw.com




Case 17-10498-j7       Doc 107     Filed 03/14/19    Entered 03/14/19 16:56:35 Page 1 of 2
I certify that I sent a true and correct copy of the foregoing to the parties listed below on March
14, 2019, either via regular mail as listed below, or through the Court’s electronic noticing
system, depending upon whether or not that party is subscribed to the CM/ECF system.

Wesley O. Pool                                        Yvette J. Gonzales
201 Innsdale Terrace                                  P. O. Box 1037
Clovis, NM 88101                                      Placitas, NM 87042-1037

Edward Mazel                                          David Kelly
1122 Central Ave. SW #1                               P. O. Box 414
Albuquerque, NM 87102                                 Santa Rosa, NM 88435

US Trustee                                            Kathryn Esquibel
P.O. Box 608                                          206 South 6th St.
Albuquerque, NM 87103                                 Santa Rosa, NM 88435


 Certified on 3/14/2019
Michael K. Daniels




Case 17-10498-j7        Doc 107     Filed 03/14/19      Entered 03/14/19 16:56:35 Page 2 of 2
